
71 N.Y.2d 905 (1988)
The People of the State of New York, Respondent,
v.
Jorge Berrios, Appellant.
Court of Appeals of the State of New York.
Argued March 18, 1988.
Decided April 21, 1988.
John J. Halloran, Jr., for appellant.
Paul Gentile, District Attorney (Andrea M. DiGregorio and Peter D. Coddington of counsel), for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
Order affirmed. Defendant's primary argument on this appeal, that evidence of a prior assault on the victim was not admissible to negate the anticipated defense of accident, was not raised in the trial court and therefore is not preserved for our review. Defendant's remaining contentions, challenging the sufficiency of the evidence, are without merit.
